Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 1 of 34




                      EXHIBIT E
      Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 2 of 34




INVESTING
IN THE LAW
Firm Overview
                                       Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 3 of 34




+
“If we desire respect for
 the law, we must first
 make the law respectable.”
Louis D. Brandeis - 16 October 1912.
                                                      +
Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 4 of 34




                                        WE BELIEVE IN BOTH THE SPIRIT
                                        AND THE LETTER OF THE LAW.
                      Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 5 of 34




                                               +
    Scott+Scott specializes in the investigation and prosecution of

    complex actions across the globe – recovering billions for its



+                                                                                        +
    clients. The Firm has extensive experience litigating securities

    fraud, antitrust, and other complex cases and is a pioneer in

    structured finance monitoring for client portfolios. We represent

    individual, institutional and multinational clients in the U.S and

    EU courts, offering a one-stop shop for international recoupment.


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           Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 6 of 34




                                                       Scott+Scott was founded in 1975 and began its securities litigation practice in 1997. The
                                                       Firm has since grown into one of the most respected law firm specializing in the investigation
                                                       and prosecution of complex actions across the United States and in Europe. Today, it is
                                                       comprised of over 125 team members, including over 100 highly experienced attorneys,
                                                       a 30+ paraprofessional team comprised of paralegals and legal assistants, a finance
                                                       manager, institutional investor liaisons, and other office support staff, in addition to an
                                                       IT support and development group, financial analysts, forensic accountants, investment
                                                       consultants, and an in-house investigations department.

                                                       Scott+Scott is headquartered in Connecticut and has additional offices in New York,
                                                       London, Amsterdam, Berlin, California, Virginia, Ohio, and Arizona.



THE FIRM
                                                       Scott+Scott has extensive experience litigating securities fraud, antitrust, and other
                                                       complex cases on behalf of our institutional and individual clients throughout the United
                                                       States, serving as lead counsel in numerous securities class actions since the enactment
                                                       of the Private Securities Litigation Reform Act of 1995 (“PSLRA”) and as lead and co-lead
                                                       counsel in antitrust, consumer, and other complex litigation. The Firm also represents
                                                       many multinational corporations in foreign jurisdiction litigation in the EU courts.

                                                       Scott+Scott’s attorneys are recognized experts and leaders in securities monitoring,
                                                       complex litigation, and corporate governance law. They regularly speak at institutional
                                                       investor educational conferences around the world and before boards of directors and
                                                       trustees responsible for managing institutional investments. Scott+Scott attorneys educate
                                                       institutional investors and governmental entities on the importance of fulfilling fiduciary
                                                       obligations through the adoption of appropriate asset recovery services, as well as
                                                       through the development and enforcement of corporate governance initiatives.

                                                       Scott+Scott has been a pioneer in structured finance monitoring of our clients’ portfolios and
                                                       the Firm’s vast experience in structured debt financial litigation has enabled us to provide
                                                       clients with in-depth monitoring of their structured finance products. Structured-finance
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                                                                     Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 7 of 34




products, like asset-backed securities and collateralized debt obligations, attract investors
with high returns relative to other fixed-income instruments. However, those returns
can come with substantial undisclosed risks due to investors’ limited ability to assess
what they are actually acquiring. Most investors cannot review the assets that underlie
securitizations, nor negotiate around the boiler-plate terms that govern securitizations,
and have very little control over the parties that administer securitizations.

Scott+Scott’s portfolio monitoring service responds to these unique risks. Importantly,
the Firm does not just track the performance of our clients’ structured-finance positions.
We analyze it in the context of other data that allows us to understand what drives losses,
should any occur. Initially, Scott+Scott conducts a review of the overall record of the
parties that issue and administer our clients’ structured-finance investments, such
as sponsors, servicers, and trustees. The conduct of those parties reveals whether a
securitization is suffering from hidden flaws, such as defective underlying assets, for
which investors should be compensated. In addition, Scott+Scott reviews securitiza-
tions’ asset-level performance ts and their governing agreements to identify any specific
instances of those parties breaching their obligations and harming investors. This
comprehensive approach enables Scott+Scott to identify hard-to-spot wrongdoing and
hold the appropriate parties responsible, ultimately winning significant recoveries for clients
who purchased structured-finance products. The Firm has also evaluated and monitored
debt and debentures originating from private placements and non-public companies,
including municipal bonds and derivatives for our clients.
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                                                                    Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 8 of 34




                                    ANTITRUST
                                    LITIGATION
Scott+Scott represents investors, businesses, and consumers in price-fixing,
bid-rigging, monopolization, and other restraints of trade cases on both a
class-wide and individual basis. The Firm’s work for its clients helps ensure that
markets remain free, open, and competitive.

Scott+Scott has been recognized by the American Antitrust Institute with an
Outstanding Antitrust Litigation Achievement in Private Law Practice award in
2020, 2018, and an honorable mention in 2014. In addition, the 2018 Antitrust Annual
Report found that in 2018, the Firm had the highest antitrust settlement in the
country, as well as ranking first nationally in aggregate setttlement amount from
2013 to 2018, recovering over $3.4 billion. Scott+Scott’s dedicated team of
antitrust partners have built one of the nation’s top plaintiffs’ firms for antitrust
actions. Furthermore, our European expansion reflects a commitment and ability to
pursue claims on a global basis.
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                                                                            Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 9 of 34




    Antitrust

    CASE EXAMPLES
    Antitrust actions in which Scott+Scott currently serves as a lead or co-lead counsel include:                 • In re Korean Air Lines Co., Ltd. Antitrust Litig., MDL No. 1891 (C.D. Cal.) (challenging price-
    • In re: Foreign Exch. Benchmark Rates Antitrust Litig., No. 13-cv-07789 (S.D.N.Y.) (challenging              fixing/illegal surcharge of ticket prices; $86 million in cash and travel voucher settlements); and
     price-fixing of foreign exchange rates; over $2.3 billion in final-approved settlements).                    •M
                                                                                                                    ylan Pharms., Inc. v. Warner Chilcott Pub. Ltd. Co., No. 12-cv-03824 (E.D. Pa.)
     The largest antitrust settlement of 2018 according to the American Antitrust Institute;                       (challenging monopolization in the sale of name-brand pharmaceutical on behalf of indirect
    • In re Disposable Contact Lens Antitrust Litig., No. 15-md-02626 (M.D. Fla.)                                purchaser class; $8 million settlement).
     (class action alleging illegal anticompetitive policies to eliminate discount pricing by the major
                                                                                                                  The Firm has aided in the recovery for class members by serving on the executive leadership
     manufacturers and distributors of disposable contact lenses);
                                                                                                                  committees in numerous other class action litigation, including:
    • I n re European Gov’t Bonds Antitrust Litig., No. 19-cv-02601 (S.D.N.Y)
                                                                                                                  • In re Payment Card Interchange Fee & Merch. Discount Antitrust Litig., No. 05-md-01720
     (challenging manipulation in the market for European Government Bonds);
                                                                                                                   (E.D.N.Y.) (challenging price-fixing in the payment cards industry; $6.24 billion settlement
    • In re ICE LIBOR Antitrust Litig., No. 19-cv-02002 (S.D.N.Y.)
                                                                                                                   preliminarily approved);
     (class action alleging anticompetitive conduct in the setting of the ICE LIBOR benchmark rate);
                                                                                                                    leen Products LLC v. Int’l Paper Co., No. 10-cv-05711 (N.D. Ill.) (challenging price-fixing of
                                                                                                                  •K
    • Deslandes v. McDonalds USA, LLC, No. 17-cv-04857 (N.D. Ill.) (class action challenging
                                                                                                                   containerboard products; over $376 million in settlements);
     no-hire agreement among McDonald’s franchisees);
                                                                                                                  • In re Lithium Ion Batteries Antitrust Litig., No. 13-md-02420 (N.D. Cal.)
    • B utler v. Jimmy John’s Franchise, LLC, No. 18-cv-00133 (S.D. Ill.) (class action challenging
                                                                                                                   (challenging price-fixing of lithium-ion batteries on behalf of indirect purchaser class;
     no-hire agreement among Jimmy John’s franchisees); and
                                                                                                                   over $113 million in settlements); and
    • B lanton v. Domino’s Pizza Franchising LLC, No. 18-cv-13207 (E.D. Mich.) (class action
                                                                                                                  • In re Mexican Gov’t Bonds Antitrust Litig., No. 18-cv-02830 (S.D.N.Y.) (an antitrust class
     challenging no-hire agreement among Domino’s franchisees).
                                                                                                                   action by eight institutional investors prosecuting 10 global financial institutions for colluding to
    Antitrust cases in which Scott+Scott previously served as lead or co-lead counsel include:                     fix the prices of debt securities issued by the Mexican Government between 2006 and 2017).
    • Dahl v. Bain Capital Partners, LLC, No. 07-cv-12388 (D. Mass.) (challenging bid rigging and
                                                                                                                  Scott+Scott’s class action antitrust experience includes serving as co-trial counsel in:
     market allocation of leveraged buyouts by private equity firms; $590.5 million in settlements);
                                                                                                                  • In re Scrap Metal Antitrust Litig., No. 02-cv-00844 (N.D. Ohio) (helped obtain a
    • Alaska Elec. Pension Fund v. Bank of Am. Corp., No. 14-cv-07126 (S.D.N.Y.) (challenging
                                                                                                                   $34.5 million jury verdict, which was subsequently affirmed by the U.S. Court of
     price-fixing of the ISDAfix benchmark interest rate; $504.5 million in settlements).
                                                                                                                   Appeals for the Sixth Circuit); and
     The 3rd largest antitrust settlement of 2018 according to the American Antitrust Institute;
                                                                                                                  • Ross v. Bank of Am. N.A., MDL No. 1409 (S.D.N.Y.) (bench trial involving
    • In re GSE Bonds Antitrust Litig., No. 19-cv-01704 (S.D.N.Y.) (challenging manipulation in the
                                                                                                                   agreement among payment cards to impose arbitration terms on cardholders).
     market for bonds issued by Government-Sponsored Entities, e.g., Freddie Mac and Fannie Mae;
     $386 million settlement);
                                                                                                                             +
Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 10 of 34




                                                   SECURITIES &
                                                   CORPORATE
                                                   GOVERNANCE
                                                   Scott+Scott’s practice is principally focused on securities class action and
                                                   corporate governance litigation aimed at recovering investment and other losses for
                                                   institutional and individual investors who have suffered from corporate securities
                                                   fraud. The Firm’s services begin with investigating and identifying potential
                                                   violations of law adversely affecting overall fund values for our clients. When
                                                   appropriate, Scott+Scott prosecutes actions on a class or individual basis.
                                                   Through our commitment to the best interests of those the Firm represents,
                                                   Scott+Scott has successfully obtained exceptional monetary results and precedent-
                                                   setting corporate governance reforms on behalf of investors.
         Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 11 of 34




Securities

CASE EXAMPLES
+ It is this Court’s position that Scott+Scott did

  a superlative job in its representation....and
                                                                                 Representative cases prosecuted by Scott+Scott under the federal securities
                                                                                 laws include:
                                                                                 • Alaska Elec. Pension Fund v. Pharmacia Corp., No. 03-cv-01519 (D.N.J.)
                                                                                  ($164 million settlement);
                                                                                 • In re Priceline.com, Inc. Sec. Litig., No. 00-cv-01884 (D. Conn.) ($80 million settlement);
                                                                                 • Irvine v. ImClone Sys., Inc., No. 02-cv-00109 (S.D.N.Y.) ($75 million settlement);
                                                                                 • Cornwell v. Credit Suisse Grp., No. 08-cv-03758 (S.D.N.Y.) ($70 million settlement);
  demonstrated a remarkable grasp and handling
                                                                                 •P
                                                                                   olicemen’s Annuity & Benefit Fund of Chi. v. Bank of Am., N.A., No. 12-cv-02865 (S.D.N.Y.)
                                                                                  ($69 million settlement);
  of the extraordinarily complex matters in this                                 • In re SanDisk LLC Sec. Litig., No. 15-cv-01455 (N.D. Cal.) ($50 million settlement);
                                                                                 • Weston v. RCS Capital Corp., No. 14-cv-10136 (S.D.N.Y.) ($31 million settlement);

  case. The extremely professional and thorough                                  Representative shareholder derivative actions prosecuted by Scott+Scott include:
                                                                                 • Irving Firemen’s Relief and Retirement Fund v. Page, C.A. No. 2019-0355-Sg (Del. Ch. 2020)
                                                                                  ($310 million in funding for corporate governance reform programs over 10 years);
  means by which NYU’s counsel has litigated
                                                                                 • In re DaVita Healthcare Partners Deriv. Litig., No. 13-cv-01308 (D. Colo.)
                                                                                  (corporate governance reforms valued at $100 million);
  this matter has not been overlooked by this                                    •B
                                                                                   uffalo Grove Police Pension Fund v. Diefenderfer, No. 19-cv-00062 (E.D. Pa.)
                                                                                  (settlement of claims against officers and directors of Navient Corp.
                                                                                  providing for corporate governance reforms valued at $139 million);
  Court. They have possessed a knowledge of                                      •T
                                                                                   harp v. Acacia Commc’ns, Inc., No 1:17-cv-11504 (D. Mass.) (settlement of claims against
                                                                                  Acacia Communications, Inc. and its officers and directors providing for corporate gover-




                                                                             +
  the issues presented and this knowledge has                                     nance reforms valued at $57 to $71 million);
                                                                                 •N
                                                                                   . Miami Beach Gen. Emps. Ret. Fund v. Parkinson, No. 10-cv-06514 (N.D. Ill.)
                                                                                  (corporate governance reforms valued between $50 and $60 million);
  always been used to benefit all investors.                                     • In re Marvell Tech. Grp. Ltd. Deriv. Litig., No. 06-cv-03894 (N.D. Cal.)
                                                                                  ($54.9 million settlement and corporate governance reforms);
            The Honorable Richard B. Lowe III, New York Supreme Court
         New York University v. Ariel Fund Ltd. ruling - 29 September 2009
                                                                                                                            +
Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 12 of 34




                                                   NON-TRADITIONAL
                                                   RECOVERY
                                                   MONITORING
                                                   Scott+Scott monitors clients’ portfolios to ensure that public funds can recover
                                                   assets when recourse under the “traditional” securities laws is unavailable.
                                                   Increasingly, clients are suffering losses from conduct that is not subject to the
                                                   federal securities laws, for example, when banks conspire to manipulate the
                                                   operation of the financial markets. Federal courts have appointed the Firm to
                                                   leadership positions in antitrust class cases relating to anticompetitive conduct
                                                   to manipulate the foreign currency market, the LIBOR rate, and the ISDAfix rate.
                                                   In these instances, a fund needs to have a system in place that monitors for
                                                   these types of situations and enables trustees to make informed decisions on
                                                   the ‘‘non-traditional” remedies available to protect their fund’s interests. Such
                                                   a system requires monitoring counsel to have an in-depth understanding of
                                                   the U.S. antitrust laws, foreign laws and procedures, and securitization issues.
                                                   Scott+Scott is on the forefront of obtaining substantial recoveries for its fund
                                                   clients through the use of these ‘‘non-traditional” methods.
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                                                                                Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 13 of 34




                                             “OPT OUT”
                                             LITIGATION
In addition to its class action work, Scott+Scott also represents clients in
opt-out antitrust litigation. The Firm’s success in class actions allows it to
provide its opt-out clients unique and valuable insights. Representative clients
include Parker Hannifin Corporation, PolyOne Corporation, Eastman Kodak
Company, and Fujifilm Manufacturing U.S.A., Inc., in the following matters:

• In re: Aluminum Warehousing Antitrust Litig., MDL No. 2481 (S.D.N.Y.);
• In re Rubber Chemicals Antitrust Litig., MDL No. 1648 (N.D. Cal.);
• In re Polychloroprene Rubber (CR) Antitrust Litig., MDL No. 1642 (D. Conn.); and
• In re Plastic Additives Antitrust Litig. (No. II), MDL No. 1684 (E.D. Pa.).
                                                                                                                            +
Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 14 of 34




                                                   CONSUMER
                                                   LITIGATION
                                                   Scott+Scott’s Consumer Practice Group consists of some of the premier advocates
                                                   in the area of consumer protection and has been at the forefront in litigating and
                                                   securing some of the most significant consumer protection settlements on behalf
                                                   of its clients, resulting in hundreds of millions of dollars to class members. The
                                                   Firm’s Consumer Practice Group has attorneys dedicated to three primary areas:
                                                   Data Breach/Data Privacy Litigation, Healthcare and Pharmaceutical Litigation, and
                                                   Consumer Protection Litigation.
                                                                         Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 15 of 34




DATA BREACH/DATA PRIVACY LITIGATION                                                                                      • Greater Chautauqua Federal Credit Union v. Kmart Corporation, No. 1:15-cv-02228
Scott+Scott has extensive experience litigating data privacy and data breach class actions                                 (N.D. Ill.) (settlement valued at $13.4 million on behalf of financial institutions injured by
advancing cutting-edge legal theories. The Firm has achieved some of the largest recoveries                                the theft of sensitive payment card information); and
in this area and currently serves in a leadership capacity in a number of data privacy and                               • W inSouth Credit Union v. Mapco Express, Inc., No. 3:14-cv-01573 (M.D. Tenn.) (largest
data breach class actions, including:                                                                                      per dollar per card recovery involving payment card data breach brought on behalf of a
• In re Equifax, Inc. Customer Data Security Breach Litigation, No. 1:17-md-02800 (N.D.                                   class of financial institutions).
 Ga.) (claims on behalf of financial institutions injured as a result of the 2017 Equifax data
 breach that exposed the personal and financial information of approximately 150 million                                 INSURANCE AND PHARMACEUTICAL LITIGATION
 U.S. consumers; preliminary approval of settlement valued at $32.5 million);                                            Scott+Scott represents consumers and health and welfare funds throughout the United
• In re Google Assistant Privacy Litigation, No. 5:19-cv-04286 (N.D. Cal.) (class action                                States who have been overcharged in connection with their insurance and pharmaceutical
 on behalf of consumers alleging privacy violations whereby Google Assistant records and                                 transactions. The Firm currently serves in a leadership capacity in a number of insurance
 discloses their private confidential communications without consent);                                                   and pharmaceutical class actions, including:

• Lopez v. Apple Inc., No. 4:19-cv-04577 (N.D. Cal.) (class action on behalf of consumers                               • Sohmer v. UnitedHealth Group Inc., No. 0:18-cv-03191 (D. Minn.) (co-lead counsel; claims
 and their minor children alleging privacy violations by Apple through its Siri application); and                          on behalf of plan participants alleging overcharge for prescription drug copayments);

• In re: American Medical Collection Agency, Inc. Customer Data Security Breach                                         • N egron v. Cigna Corporation, No. 3:16-cv-01702 (D. Conn.) (chair of executive
 Litigation, No. 2:19-md-02904 (D.N.J.) (claims on behalf of consumers involving data                                      committee; claims on behalf of plan participants alleging overcharge for prescription
 breach of personal information).                                                                                          drug copayments);

Recently, in settling a class action against The Wendy’s Co. involving a breach of personal                              • F orth v. Walgreen Co, Inc., No. 1:17-cv-02246 (N.D. Ill.) (class action on behalf of
and financial information, the court, in approving the $50 million dollar settlement, noted that                           consumers and third party union benefit funds alleging unlawful overcharges for medically
Scott+Scott and its attorneys demonstrated “very significant experience in these types of                                  necessary prescription drugs); and
class actions and in data breach litigation” and that the attorneys “brought to the table an                             • Stafford v. Rite Aid Corporation, No. 3:17-cv-01340 (S.D. Cal.) (class action on behalf
incredible wealth of knowledge, was always prepared, really was thorough and profes-                                       of consumers who were overcharged for prescription drug claims).
sional in everything that was provided to the Court.” First Choice Federal Credit Union v.
The Wendy’s Co., No. 2:16-cv-00506, Transcript at 32 (W.D. Pa. Nov. 6, 2019).                                            REPRESENTATIVE INSURANCE AND PHARMACEUTICAL CASES
                                                                                                                         Scott+Scott have significant experience litigating against insurance companies and
REPRESENTATIVE DATA BREACH/DATA PRIVACY CASES                                                                            pharmaceutical manufacturers. The Firm’s lawyers have obtained some of the largest
Additional data privacy and data breach settlements achieved by Scott+Scott for its                                      settlements in consumer healthcare litigation, including:
clients include:
                                                                                                                         • In re Managed Care Litig., MDL No. 1334 (S.D. Fla.) (settlements with Aetna, CIGNA,
• T he Home Depot, Inc., Customer Data Security Breach Litigation, MDL No. 2583                                           Prudential, Health Net, Humana, and WellPoint providing monetary and injunctive
 (N.D. Ga.) (co-lead counsel; $27.25 million settlement on behalf of financial institutions                                benefits exceeding $1 billion); and
 involving data breach and theft of the personal and financial information of over 40 million
                                                                                                                         • In re Prudential Ins. Co. SGLI/VGLI Contract Litigation, MDL No. 2208 (D. Mass.)
 credit and debit card holders);
                                                                                                                           ($40 million settlement was achieved on behalf of a class of military service members
• In re Target Corporation Customer Data Security Breach Litigation, MDL No. 2522                                         and their families who had purchased insurance contracts).
 (D. Minn.) ($59 million settlement on behalf of financial institutions injured by the theft
 of sensitive payment card information);
                                                                     Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 16 of 34




CONSUMER PROTECTION LITIGATION
Scott+Scott has been at the forefront in prosecuting consumer protection actions against
organizations engaging in unfair practices. The Firm currently serves in a leadership
capacity in a number of consumer protection class actions, including:

• A quilina v. Certain Underwriters at Lloyd’s London, No. 1:18-cv-00496 (D. Haw.)
 (representing Hawaii homeowners who were placed into insurance excluding lava
 coverage and suffered devastating losses as a result of the 2018 eruption of Kilauea); and

• Morris v. Apple, Inc., No. 5:20-cv-04812 (N.D. Cal.) (class action on behalf of consumers
 who purchased iTunes gift cards under false pretenses and were not refunded the value
 of the iTunes gift cards).

Representative Consumer Protection Cases:
Over the past decade, Scott+Scott has litigated a number of diverse cases and fought for
rights of consumers to be treated fairly and equitably. The Firm has achieved significant
settlements that have protected consumers’ rights and recovered substantial monetary
benefits, including:

• T he Vulcan Society, Inc. v. The City of New York, No. 1:07-cv-02067 (E.D.N.Y.)
 ($100 million settlement and significant injunctive relief was obtained for a class
 of black applicants who sought to be New York City firefighters, but were denied or
 delayed employment due to racial discrimination);

• In re Providian Financial Corp. Credit Card Terms Litigation, MDL No. 1301 (E.D. Pa.)
 ($105 million settlement was achieved on behalf of a class of credit card holders who
 were charged excessive interest and late charges on their credit cards);

• In re Pre-Filled Propane Tank Marketing & Sales Practices Litigation, MDL No. 2086
 (W.D. Mo.) ($37 million settlement obtained on behalf of class of propane purchasers
 who alleged defendants overcharged the class for under-filled propane tanks);

• M urr v. Capital One Bank (USA), N.A., No. 1:13-cv-01091 (E.D. Va.) ($7.3 million
 settlement pending on behalf of class of consumers who were misled into accepting
 purportedly 0% interest credit card offers); and

• G unther v. Capital One, N.A., No. 2:09-cv-02966 (E.D.N.Y.) (settlement resulting in
 class members receiving 100% of their damages in case alleging consumers were
 improperly charged undeliverable mail fees).
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                                                                       Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 17 of 34




                INTERNATIONAL
                    LITIGATION
Since the Supreme Court’s decision in Morrison v. Nat’l Austl. Bank Ltd.,
No. 08–1191 (2010), pension funds are seeing increased monitoring activity in
foreign jurisdiction litigation. United States funds are making increased investments
in foreign companies trading on foreign exchanges, including the emerging markets.
These companies are not immune to suffering the effects of fraud. Again, a fund
needs to have a system in place to ensure that it learns about these situations
and has an action plan to make sure that assets are protected. In the context of a
foreign company, this is particularly important given changes in the U.S. securities
laws. Notably, many foreign jurisdictions require funds to take affirmative steps to
participate in foreign cases and recover losses.

Scott+Scott has experience in foreign jurisdiction litigation and can help funds
navigate that process, so funds have the ability to participate, if they choose,
and recover losses. The Firm is able to monitor and evaluate cases filed in
non-U.S. jurisdictions and evaluate our clients’ ability to participate in those
cases. The Firm is currently litigating and evaluating cases in Europe, as well as
Australia and Canada. However, because many foreign jurisdictions require
plaintiffs to “opt-in” from the onset of the litigation, it usually requires participation
at the beginning of an action to participate in any recovery.
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Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 18 of 34




                                                   SCOTT+SCOTT
                                                   LONDON
                                                   Scott+Scott’s London office specializes in pursuing violations of European
                                                   securities and antitrust laws. The Firm’s European clients are primarily multinational
                                                   corporations who have suffered losses across a number of jurisdictions.
                                                   Scott+Scott London works closely with the Firm’s U.S. and Amsterdam-based
                                                   offices to deliver integrated multi-jurisdictional strategies.

                                                   Because its legal team is highly experienced in assessing business cartel damages
                                                   Scott+Scott London has been retained by several large international companies
                                                   to recover losses caused by a decade-long and worldwide business cartel to fix
                                                   the prices and allocate markets in the cables sector.

                                                   Additionally, Scott+Scott London is acting for Michael O’Higgins FX Class
                                                   Representative in bringing a collective action in the U.K.’s Competition Appeal
                                                   Tribunal on behalf of victims of the foreign exchange cartel in Europe. The action
                                                   is brought against five of the world’s leading banks (Barclays, Citibank, JPMorgan,
                                                   RBS, and UBS) and is one of only a handful of actions brought using the U.K.’s
                                                   new regime for class actions for victims of breaches of competition law.

                                                   Scott+Scott has also brought over 20 claims in London’s High Court against
                                                   Visa and MasterCard in relation to their anticompetitive multilateral interchange
                                                   fees, acting for multinational retailers, U.K. household names, and several hotel
                                                   chains. Scott+Scott London is also working closely with the Firm’s U.S.-based
                                                   offices for Kodak in litigation in the U.K. and United States in relation to
                                                   anticompetitive conduct involving aluminium warehousing.
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                                                                    Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 19 of 34




                 SCOTT+SCOTT
                   AMSTERDAM
In 2019, Scott+Scott opened the Firm’s Amsterdam office. The Netherlands has
a robust litigation regime and is a premier jurisdiction for private enforcement
cases. Its courts are increasingly friendly to parties seeking damages from price fix-
ing and other forms of wrongdoing. The Netherlands also offers a mechanism for set-
tling cases on a global basis. U.S. investors can now seek compensation for losses
outside the United States without having to engage third-party Dutch law firms.

Our presence there provides our clients, whether headquartered in the US or
Europe, a one-stop shop for global recoupment. In the wake of billions of dollars
of recent fines imposed by the EU antitrust regulator, Scott+Scott Amsterdam
is currently reviewing claims on behalf of multi-national corporations against the
world’s largest truck-makers, including MAN, DAF, Daimler, Iveco, and Volvo/
Renault, for colluding to coordinate prices and pass on the costs of emission-re-
ducing technologies.
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Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 20 of 34




                                                   SCOTT+SCOTT
                                                   BERLIN
                                                   Scott+Scott Berlin opened in November 2020 to be led by private enforcement expert
                                                   Markus Hutschneider who joined the firm from Deutsche Bahn, where he headed the
                                                   multinational company’s team of lawyers in the competition litigation unit. Hutschneider
                                                   has worked on several high profile cases involving the German rail track cartel, the air
                                                   cargo cartel, and the trucks cartel. He also has extensive experience negotiating out-
                                                   of-court settlements.

                                                   Germany is one of the leading European markets for manufacturing and business and
                                                   one of the top jurisdictions for corporations and other large clients seeking to recover
                                                   their losses from price-fixing cartels and other wrongdoing. Opening the Berlin office
                                                   further enhances the firm’s ability to be out in front of the developing antitrust and
                                                   regulatory environment in Germany and in the EU, allowing Scott+Scott to better
                                                   serve its multinational clients’ complex litigation needs, including for cartel damages
                                                   claims. Scott+Scott Berlin is currently advising large clients on metal packaging in
                                                   light of commission investigation.




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                                                                           Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 21 of 34




                    INVESTIGATIONS
      Our internal investigations unit is unmatched in its sophistication and ability to
      identify, connect with, and obtain vital information from witnesses. The Firm’s in
      house investigative department is led by attorney Alex Vargas, who has over a
      decade of legal and investigative experience. Under Vargas’ direction, investigators
      employ public record databases, in-person interviews, and forensic IT to unravel
      complex cases, discover critical “evidence” and deliver actionable intelligence.
      The team works seamlessly with a robust, international network of boots-on-the-
      ground investigative experts to navigate the privacy and banking laws of different
      jurisdictions and deliver the facts from anywhere in the world.


      The team’s investigations have contributed to recoveries in excess of $3.2 billion
      on behalf of aggrieved investors, including, notably, their efforts in identifying,
      interviewing, and working with key witnesses, as well as obtaining critical evidentiary
      materials, leading to the largest trial settlement in the securities fraud arena
      ($2.46 billion in Lawrence E. Jaffe Pension Plan v. Household Int’l Inc., No. 02-
      cv-05893 (N.D. Ill. 2006)).


      Prior to joining Scott+Scott, Mr. Vargas served as the Director of Litigation Support at
      a boutique investigation firm in New York and earlier, was employed by an investigation
      firm handling securities fraud cases exclusively. Mr. Vargas received both his B.A. and
      J.D. from the University of San Diego and is licensed to practice law in New York,
      California, and the District of Columbia.




106
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Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 22 of 34




                                                   WORLD-CLASS
                                                   ATTORNEYS
                                                   We pride ourselves on the caliber of legal talent on our team. In addition to
                                                   some of the best and brightest rising stars, we have attorneys who have
                                                   served with distinction in the U.S. Department of Justice, been admitted to
                                                   the U.S. Supreme Court, served in OAGs at the state level, argued before
                                                   the UK’s CAT and High Courts, and received virtually every accolade offered
                                                   in our profession.
                                                                        Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 23 of 34




DAVID R. SCOTT                                                                                                          In addition to his extensive competition law work, Mr. Scott has also taken the lead in bringing
PRACTICE EMPHASIS                                                                                                       claims on behalf of institutional investors, such as sovereign wealth funds, corporate pension
Managing Partner David R. Scott represents multinational corporations, hedge funds, and                                 schemes, and public employee retirement funds. For example, he has been retained to pursue
institutional investors in high-stakes, complex litigation, including antitrust, commercial, and                        losses against mortgaged-backed securities trustees for failing to protect investors. He also
securities actions.                                                                                                     represented a consortium of regional banks in litigation relating to toxic auction rate securities
                                                                                                                        (“ARS”) and obtained a sizable recovery for the banks in a confidential settlement. This case
EDUCATION
                                                                                                                        represents one of the few ARS cases in the country to be successfully resolved in favor of
New York University School of Law (LL.M. in taxation); Temple University School of Law
                                                                                                                        the plaintiffs.
(J.D., Moot Court Board, 1989); St. Lawrence University (B.A., cum laude, 1986)
                                                                                                                        Mr. Scott is frequently quoted in the press, including in publications such as The Financial
HIGHLIGHTS
                                                                                                                        Times, The Economist, The Guardian, The Daily Telegraph, The Wall Street Journal, and
Mr. Scott is the Managing Partner of Scott+Scott with offices in New York, Amsterdam,
                                                                                                                        Law360. He is regularly invited to speak at conferences around the world and before Boards
London, Berlin, California, Connecticut, Virginia, Arizona and Ohio.
                                                                                                                        of Directors and trustees responsible for managing institutional investments.
In addition to managing the firm’s lawyers worldwide, Mr. Scott advises some of the world’s
largest multinational corporations in cartel damages and other complex matters. He has been                             DEBORAH CLARK-WEINTRAUB
retained to design corporate policies for the global recoupment of losses, and transatlantic                            PRACTICE EMPHASIS
private enforcement programs.                                                                                           Deborah Clark-Weintraub has extensive experience in all types of class action litigation.
He currently represents multinational companies and hedge funds in cases involving,                                     EDUCATION
among other things, price-fixing in the trucks, foreign exchange, high voltage power cables,                            Hofstra Law School, Hempstead, NY (J.D., with distinction, 1986); St. John’s University,
cardboard, and payment card sectors.                                                                                    Queens, NY (B.A., summa cum laude, 1981)
Mr. Scott’s antitrust cases in the United States have resulted in significant recoveries for                            HIGHLIGHTS
victims of price-fixing cartels. Among other cases, Mr. Scott served as co-lead counsel in Dahl                         Ms. Weintraub is a partner in the firm’s New York office and focuses her practice on
v Bain Capital Partners, No. 1:07-cv-12388 (D. Mass.), an action alleging that the largest                              securities litigation.
private equity firms in the United States colluded to suppress prices that shareholders
                                                                                                                        Ms. Weintraub has represented investors in numerous cases that have resulted in
received in leveraged buyouts and that the defendants recently agreed to settle for $590.5
                                                                                                                        substantial recoveries, including In re Oxford Health Plans, Inc. Securities Litigation,
million. He was lead counsel in Red Lion Medical Safety v. Ohmeda, No. 06-cv-1010 (E.D.
                                                                                                                        MDL No. 1222 (S.D.N.Y.) ($300 million settlement); In re CVS Corporation Securities
Cal.), a lawsuit alleging that Ohmeda, one of the leading manufacturers of medical anesthesia
                                                                                                                        Litigation, No. 01-11464 (D. Mass.) ($110 million settlement); Policemen’s Annuity and
equipment in the United States, excluded independent service organizations from the
                                                                                                                        Benefit Fund of the City of Chicago v. Bank of America, NA, No. 1:12-cv-2865 (S.D.N.Y.
market for servicing its equipment. The case was successfully resolved in settlement
                                                                                                                        ($69 million settlement); In re SanDisk LLC Securities Litigation, No. 3:15-cv-01455-
negotiations before trial.
                                                                                                                        VC (N.D. Cal.) ($50 million settlement); Weston v. RCS Capital Corp., No. 1:14-cv-
Mr. Scott has received widespread recognition for his antitrust and competition law work. He                            10136 (S.D.N.Y.) ($31 million settlement); and In re Conn’s, Inc. Securities Litigation,
has been elected to Who’s Who Legal: Competition 2015- 2020, which lists the world’s top                                No. 4:14-cv-00548 (S.D. Tex. ($22.5 million settlement), among others.
antitrust and competition law lawyers, selected based on comprehensive, independent survey
                                                                                                                        Ms. Weintraub has also obtained substantial recoveries in consumer litigation, including Young
work with both general counsel and lawyers in private practice around the world. He has
                                                                                                                        v. Wells Fargo & Co., No. 4:08-cv-00507-RP-CFB (S.D. Iowa) ($25.7 million settlement).
also received a highly recommended ranking by Benchmark Litigation for each of the years
2013-2015. In addition, Mr. Scott is continually recognized in the U.S. by Best Lawyers and                             Ms. Weintraub is currently representing investors in several ongoing securities class

Super Lawyers.                                                                                                          action cases, including Oklahoma Firefighters Pension and Ret. Sys. v. Newell Brands,
                                                                       Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 24 of 34




Inc., No. HUD-L-003492-18 (N.J. Super. Ct.); In re Lyft, Inc. Securities Litigation,                                   In re Sears Roebuck & Co. Sec. Litigation (N.D. Ill.) ($215 million settlement, representing
No. CGC-19-575293 (Cal. Super. Ct.); Erie County Emps. Ret. Sys. v. NN, Inc., No.                                      the then-largest §10(b) class action recovery in an action that did not involve either a financial
656462/2019 (N.Y. Sup. Ct.); In re JPMorgan Precious Metals Spoofing Litigation,                                       restatement or parallel government fraud claims); In re State Street Bank and Trust Co.
No. 1:18-cv-10356-GHW (S.D.N.Y.); In re Merrill, BOFA, and Morgan Stanley Spoofing                                     ERISA Litigation (S.D.N.Y.) (one of the largest ERISA class settlements to date); In re
Litigation, No. 19-cv-6002 (LJL) (S.D.N.Y.); and City of Warren Police & Fire Ret. Sys.                                King Digital Sec. Enter. PLC Shareholder Litigation (Super. Ct. San Fran. Cty.) ($18.5 mil-
v. CVS Health Corp., No. PC-2019-5658 (R.I. Super. Ct.).                                                               lion settlement, representing one of the largest state court §11 class action recoveries

Ms. Weintraub is the co-author of Gender Bias and the Treatment of Women as Advocates,                                 to date); Irvine v. ImClone Systems, Inc. (S.D.N.Y.) ($75 million §10b settlement); In re

Women in Law (1998), and the Dissenting Introduction defending the merits of securities                                Insulet Sec. Litigation (D. Mass) ($19.75 million §10b settlement), and In re LendingClub

class action litigation contained in the 1994 monograph Securities Class Actions: Abuses                               Sec. Litigation ($125 million §10b and §11 settlement). A consortium of plaintiffs’ counsel

and Remedies, published by the National Legal Center for the Public Interest.                                          also chose Mr. Fredericks to present the (successful) oral argument in opposition to
                                                                                                                       defendants’ efforts to dismiss (on grounds of standing) over fifteen separate securities
While in law school, Ms. Weintraub was a member and research editor of the Hofstra Law
                                                                                                                       fraud cases before a three judge panel in In re Mutual Fund Investing Litigation (see 519 F.
Review. Following her graduation from Hofstra Law School, Ms. Weintraub served as a law
                                                                                                                       Supp. 2d 580 (D.Md. 2007)), which later settled for a combined total of several hundred
clerk to the Honorable Jacob Mishler, United States District Judge for the Eastern District
                                                                                                                       million dollars. Mr. Fredericks also played a leading role on the team that obtained a rare
of New York (1986-1987). Super Lawyers 2019.
                                                                                                                       9-0 decision for securities fraud plaintiffs in the U.S. Supreme Court in Merck & Co., Inc.
                                                                                                                       v. Reynolds (which later settled for $1.052 billion), and he has also co-authored amicus
WILLIAM C. FREDERICKS
                                                                                                                       briefs on behalf of clients in a number of other Supreme Court cases (including Halliburton,
PRACTICE EMPHASIS
                                                                                                                       Amgen, ANZ Securities and Cyan) involving various significant securities law issues.
William Fredericks’ practice focuses primarily on litigating securities and other complex com-
mercial class actions.                                                                                                 Mr. Fredericks has also represented clients in litigating claims in federal bankruptcy court
                                                                                                                       proceedings, and obtained substantial recoveries from a bankrupt corporation’s officers,
EDUCATION
                                                                                                                       law firm and outside auditors on behalf of a court-appointed Trustee of a creditor’s trust.
Columbia University Law School, (J.D., 1988); University of Oxford (M. Litt. in International
                                                                                                                       See In re Friedman’s, Inc., 394 B.R. 623 (S.D. Ga. 2008). He also currently represents a
Relations, 1985); Swarthmore College (B.A. in Political Science, high honors, 1983)
                                                                                                                       class of large commercial customers of a bankrupt utility in breach of contract proceedings
HIGHLIGHTS
                                                                                                                       in In re FirstEnergy Corp., pending before the U.S. Bankruptcy Court for the Northern
Mr. Fredericks is a partner in the firm’s New York office. In addition to serving as lead
                                                                                                                       District of Ohio.
counsel on behalf of investors in several pending securities fraud actions (including cases
                                                                                                                       At Columbia Law School, Mr. Fredericks was a three-time Harlan Fiske Stone Scholar,
against Uber, Evoqua Water Technologies and EndoChoice Holdings. Mr. Fredericks also
                                                                                                                       a Columbia University International Fellow, Articles Editor of The Columbia Journal of
represents investors in the pending FX antitrust litigation brought against over a dozen
                                                                                                                       Transnational Law, and winner of Columbia’s Beck Prize (property law), Toppan Prize
leading banks based on their involvement in manipulating foreign exchange (“FX”) rates and
                                                                                                                       (advanced constitutional law) and Greenbaum Prize (written advocacy). A three-judge panel
spreads, and in pending proceedings relating to data security breaches at FaceBook, Inc.
                                                                                                                       chaired by the late Justice Antonin Scalia also awarded Mr. Fredericks the Thomas E. Dewey
Mr. Fredericks has represented investors as a lead or co-lead counsel for plaintiffs in
                                                                                                                       Prize for best oral argument in the final round of Columbia’s Stone Moot Court Honor
dozens of securities class actions, including In re Wachovia Preferred Securities and Bond/
                                                                                                                       Competition. After clerking for the Hon. Robert S. Gawthrop III (E.D. Pa.) in Philadelphia,
Notes Litigation (S.D.N.Y.) (total settlements of $627 million, reflecting the largest recovery
                                                                                                                       Mr. Fredericks spent seven years practicing securities and complex commercial litigation
ever in a pure Securities Act case not involving any parallel government fraud claims); In
                                                                                                                       at Simpson Thacher & Bartlett LLP and Willkie Farr & Gallagher LLP in New York before
re Rite Aid Securities Litigation (E.D. Pa.) (total settlements of $323 million, including the
                                                                                                                       moving to the plaintiffs’ side of the bar in 1996.
then-second largest securities fraud settlement ever against a Big Four accounting firm);
                                                                       Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 25 of 34




Mr. Fredericks has been recognized in the 2012-21 editions of “America’s Best Lawyers”                                 plaintiffs succeeded in defeating the defendants’ motion for summary judgment, only
in the field of commercial litigation, in “Who’s Who in American Law” (Marquis), and in                                weeks before it was scheduled to proceed to a jury trial. Ms. Kaswan participated in the
the New York City “Super Lawyers” listings for securities litigation (2013-20). In 2020                                nine-week trial in In the Matter of the Application of The Bank of New York Mellon,
and 2021 he was named to the LawDragon 500 Lead Plaintiff Attorney list. He has been                                   Index No. 651786/2011 (N.Y. Supr. Ct.) in which she and other interveners challenged
a frequent panelist on various securities litigation programs sponsored by the Practising                              the proposed settlement between Bank of New York Mellon and Bank of America to
Law Institute (PLI) – including ten years as a panelist on civil liabilities under the federal                         resolve repurchase and servicing claims for 530 Countrywide trusts. She and others
Securities Act – and has lectured overseas on American class action litigation on behalf                               settled federal and state law claims against the Securitization Trustees for WaMu and
of the American Law Institute/American Bar Association (ALI/ABA). He is also the former                                Bear Stearns Trusts in Policemen’s Annuity and Benefit Fund of the City of Chicago v.
chairman of the New York City Bar Association’s Committee on Military Affairs and                                      Bank of America, N.A., No. 12-cv-2865 (S.D.N.Y.) and Oklahoma Police Pension and
Justice), and a member of the Federal Bar Council.                                                                     Retirement System v. U.S. Bank N.A., No. 11-cv-8066 (S.D.N.Y.), respectively.

BETH KASWAN                                                                                                            Ms. Kaswan brought a derivative suit on behalf of New York University against Ezra

PRACTICE EMPHASIS                                                                                                      Merkin to freeze funds belonging to a feeder fund to Bernard Madoff. She also served as

Ms. Kaswan currently focuses on representing cities, counties, and other municipalities                                lead counsel to another shareholder derivative case, Carfagno v. Schnitzer, No. 08-CV-

from Massachusetts, Pennsylvania, New Jersey, Connecticut, and Florida in both state and                               912-SAS (S.D.N.Y.), where she successfully negotiated a settlement on behalf of Centerline

federal litigation against the manufacturers and distributors of opioid medications.                                   Holding Company and Centerline shareholders. Ms. Kaswan has served as lead counsel in
                                                                                                                       Cornwell v. Credit Suisse Group, No. 08-cv-3758 (S.D.N.Y.) and In re Tetra Technologies,
EDUCATION
                                                                                                                       Inc. Securities Litigation, No. 08-cv-0965 (S.D. Tex.), among others.
Boston College (J.D., 1976); University of Miami (Bachelor of Business Administration, 1973)
                                                                                                                       Ms. Kaswan is the lead lawyer for public nuisance actions by 13 Massachusetts cities
HIGHLIGHTS
                                                                                                                       against opioid manufacturers, distributors and chain pharmacies. In re Municipal Opioid
Ms. Kaswan has been practicing law for over 40 years and is a partner in the firm’s New
                                                                                                                       Cases, No. 1884CV02860-BLS2 (Mass. Super.).
York office. During her tenure as an Assistant U.S. Attorney in the U.S. Attorney’s Office for
the Southern District of New York, including with respect to her promotions to Chief of the                            Ms. Kaswan is a member of the New York and Massachusetts bars and has been named

Commercial Litigation Unit and Deputy Chief of the Civil Division, Ms. Kaswan handled a                                a “Super Lawyer” from 2011-2021.

number of complex fraud actions against major U.S. contractors and served as lead counsel
                                                                                                                       THOMAS LAUGHLIN
in litigation to enjoin the manufacture of adulterated generic drugs in the landmark case
                                                                                                                       PRACTICE EMPHASIS
United States v. Barr Laboratories, Inc., 812 F. Supp. 458 (D.N.J. 1993). Ms. Kaswan,
                                                                                                                       Thomas Laughlin’s practice focuses on securities class action, shareholder derivative,
who began her career as an accountant at the offices of Peat, Marwick, Mitchell & Co., and
                                                                                                                       ERISA and other complex commercial litigation.
then worked as a civil trial attorney in the tax division of the U.S. Department of Justice
in Washington, D.C., is the recipient of several awards from the Justice Department and                                EDUCATION

other agencies she represented, including the Justice Department’s John Marshall award,                                New York University School of Law (J.D., cum laude, 2005);

Special Commendation from the Attorney General, an award from the Executive Office of                                  Yale University (B.A. History, cum laude, 2001)

U.S. Attorneys, Tax Division Outstanding Achievement awards, and awards from the FDA                                   HIGHLIGHTS
and U.S. Customs Service.                                                                                              Mr. Laughlin is a partner in the New York office and focuses on securities class action,

While at Scott+Scott, Ms. Kaswan served as lead counsel in Boilermakers National                                       shareholder derivative, ERISA and other complex commercial litigation. After graduating

Annuity Trust Fund v. WaMu Mortgage Pass Through Certificates, No. 09-cv-00037                                         from law school, Mr. Laughlin clerked for the Honorable Irma E. Gonzalez, United States

(W.D. Wash.), the WaMu RMBS Section 11 Securities Act case which settled after                                         District Court Judge for the Southern District of California.
                                                                       Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 26 of 34




While at Scott+Scott, Mr. Laughlin has worked on several cases that have achieved notable                              Mr. Cunningham’s practice also includes complex securities litigation, achieving notable
victories, including Cornwell v. Credit Suisse, No. 08-3758 (S.D.N.Y.) (settlement of                                  results, including In re Washington Mutual Mortgage Backed Securities Litigation, No.
$70 million), In re SanDisk LLC Securities Litigation, No. 3:15-CV-01455-VC (N.D.                                      C09-0037 (W.D. Wash.) and In re Cardinal Health, Inc. Securities Litigation, No. 2:04-
Cal.) (settlement of $50 million); Weston v. RCS Capital Corp., No. 1:14-cv-10136-GBD                                  cv-00575 (S.D. Ohio).
(S.D.N.Y.) (securities settlement of $31 million); In re King Digital Entertainment plc                                Before entering the practice of law, Mr. Cunningham worked in drug development and
Shareholder Litigation, No. CGC-15-544770 (Cal. Super. Ct. San Francisco Cty.)                                         holds a Regulatory Affairs Certification. Outside of the office, Mr. Cunningham enjoys
(settlement of $18.5 million); and Rubenstein v. Oilsands Quest Inc., No. 11-1288                                      cycling and tennis.
(S.D.N.Y.) (settlement of $10.235 million).

Mr. Laughlin also has significant appellate experience, having represented clients in                                  JOHN T. JASNOCH
connection with several appellate victories, including Cottrell v. Duke, 737 F.3d 1238 (8th                            PRACTICE EMPHASIS
Cir. 2013); Westmoreland County Employee Retir. Sys. v. Parkinson, 727 F.3d 719 (7th                                   John Jasnoch’s practice areas include securities and antitrust class actions, shareholder
Cir. 2013); Pfeil v. State Street Bank and Trust Co., 671 F.3d 585 (6th Cir. 2012); and                                derivative actions, consumer protection, commercial contracts, intellectual property, and
King v. VeriFone Holdings, Inc., 12 A.3d 1140 (Del. Supr. 2011).                                                       other complex, high stakes litigation.

In 2014, Mr. Laughlin was co-chair of a 13-day bench trial in Bankers’ Bank Northeast                                  EDUCATION
v. Berry, Dunn, McNeil & Parker, LLC, No. 12-cv-00127 (D. Me.). He represented a consortium                            University of Nebraska, College of Law (J.D., 2011); Creighton University (B.A., Political
of 10 community banks asserting negligence and professional malpractice claims                                         Science and International Relations, cum laude, 2007)
against the former officers and directors of a bank and its auditor in connection with an
                                                                                                                       HIGHLIGHTS
$18 million loan made to that bank in September 2008. Among other things, Mr. Laughlin
                                                                                                                       John Jasnoch is a partner in the San Diego office. He represents clients in complex
conducted the cross-examination of all three witnesses from the defendant’s auditing
                                                                                                                       litigations in state and federal courts across the county. John has been counsel of record
firm and the direct examination of plaintiff’s auditing expert. The parties to the action
                                                                                                                       in numerous successful cases where Scott+Scott served in a leadership capacity,
succeeded in resolving the action after trial.
                                                                                                                       including: In re LendingClub Corp. Shareholder Litigation, No. CIV537300 (Cal. Super.

HAL CUNNINGHAM                                                                                                         Ct. San Mateo Cty) ($125 million federal and state joint settlement); In re King Digital

PRACTICE EMPHASIS                                                                                                      Entertainment plc Shareholder Litigation, No. CGC-15-544770, (Cal. Super. Ct. San

Hal Cunningham’s practice focuses on complex antitrust and consumer litigation, primarily in                           Francisco Cty.) ($18.5 million settlement); In re FireEye, Inc. Securities Litigation, No.

the financial services industry.                                                                                       1:14-cv-266866 (Cal. Super. Ct. Santa Clara Cty.) ($10.3 million settlement); In re Pacific
                                                                                                                       Coast Oil Trust Securities Litigation, No. BC550418 (Cal. Super. Ct. Los Angeles Cty.) ($7.6
EDUCATION
                                                                                                                       million settlement); and In re MobileIron, Inc., Shareholder Litigation, No. 1-15-284001
University of San Diego School of Law (J.D., 2005);
                                                                                                                       (Cal. Super. Ct. Santa Clara Cty) ($7.5 million settlement). John currently represents
Murray State (B.S., Biological Chemistry, 1997)
                                                                                                                       plaintiffs in a number of high profile cases, including In re Lyft, Inc. Securities Litigation,
HIGHLIGHTS                                                                                                             No. CGC 19-575293 (Cal. Super Ct. San Francisco Cty); In re Uber Technologies Inc.
Mr. Cunningham is an attorney in the firm’s San Diego office and currently represents class                            Securities Litigation, No. CGC 19-579544 (Cal. Super Ct. San Francisco Cty); In re
plaintiffs in Alaska Electrical Pension Fund v. Bank of America Corp., No. 1:14-cv-07126                               Slack Technologies, Inc. Shareholder Litigation, No. 19-cv-5370 (Cal. Super Ct. San
(S.D.N.Y.), an action challenging collusion in the setting of ISDAfix, a global benchmark used                         Mateo Cty); and In re Google Assistant Privacy Litigation, No. 19-cv-04286 (N.D. Cal.).
to value interest rate derivatives, and In re Foreign Exchange Benchmark Rates Antitrust
                                                                                                                       In 2015, Mr. Jasnoch was a member of the trial team in Scorpio Music S.A. v. Victor
Litigation, No. 1:13-cv-07789 (S.D.N.Y.). Mr. Cunningham serves a prominent role in the
                                                                                                                       Willis, a landmark copyright jury trial concerning the copyright ownership of hit songs by
prosecution of these cases, working with the firm’s financial industry experts and economists
                                                                                                                       The Village People. In that suit, Scott+Scott client and Village People lyricist Victor Willis
and supervising firm attorneys on discovery matters.
                                                                       Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 27 of 34




obtained a declaratory judgment confirming his copyright termination and giving him a                                  of African American and Hispanic firefighters in New York City, as well as a settlement in In
50% copyright interest in “YMCA” and other classic Village People compositions. No.                                    re Prudential Life Insurance Co. of America SGLI/VGLI Contract Litig., No. 11-02208 (D.
11-cv-1557 (S.D. Cal.).                                                                                                Mass.) that brought a $39 million settlement on behalf of families of deceased servicemen

In 2020, Mr. Jasnoch was named as one of SuperLawyers’ “Rising Stars” for Securities                                   and women against Prudential.

Litigation in the San Diego Area.                                                                                      During law school, Ms. Lawrence worked for large firms in Washington, D.C., New York,

In his free time, John enjoys attending sporting events, trivia contests, fun runs, and other                          and Cleveland. After graduating from Yale, she worked in-house at a tax lien securitization

adventures with his wife Jennifer, son James, and dog Jack.                                                            company and for several years at a large Hartford-based law firm.

                                                                                                                       Ms. Lawrence has taught Trial Practice at the University of Connecticut School of Law
AMANDA LAWRENCE                                                                                                        and is very actively involved in her community, particularly in recreational organizations
PRACTICE EMPHASIS                                                                                                      and events.
Amanda F. Lawrence is actively engaged in the Firm’s complex securities, corporate gover-
                                                                                                                       A five-time NCAA National Champion cyclist who raced throughout the United States,
nance, consumer, and antitrust litigation.
                                                                                                                       Europe, Bermuda, and Pakistan, Ms. Lawrence is now an avid endurance athlete. Ms.
EDUCATION                                                                                                              Lawrence has competed in dozens of marathons, including the New York Marathon and
Yale Law School (J.D.2002); Dartmouth College (B.A., cum laude, 1998)                                                  the Boston Marathon, and in 18 full-distance ironman competitions – five of which were
HIGHLIGHTS                                                                                                             at the Ironman World Championships in Kona, Hawaii.
Ms. Lawrence is a partner in our Connecticut office. In the antitrust realm, Ms. Lawrence
currently served as co-lead counsel in the matter, In re: GSE Bonds Antitrust Litigation,                              MAX SCHWARTZ
1:19-cv-01704-JSR (S.D.N.Y.) which alleges manipulation of the prices in the $550 billion                              PRACTICE EMPHASIS

government sponsored entities bond market by some of the largest banks in the world.                                   Max Schwartz’s practice focuses on complex civil litigation, often involving financial

The case has a pending settlement of $386.5 million. Ms. Lawrence was also intricately                                 products and services. He also counsels investment firms and institutional investors

involved in the “ISDAFix case” – Alaska Electrical Pension Fund v. Bank of America,                                    on strategies to enhance returns, or recoup losses, through a variety of legal actions.

1:14-cv-07126-JMF-OTW (S.D.N.Y). That case has to date achieved over $504.5 million                                    EDUCATION
in recovery from large financial institutions for investors.                                                           New York University School of Law (J.D.); Columbia University (B.A., cum laude)
In her securities practice, Ms. Lawrence has worked on numerous Exchange Act and 1933                                  HIGHLIGHTS
Act cases that have resulted in substantial settlements, including: Police and Fire Retirement                         Mr. Schwartz is a partner in our New York office. Following the financial crisis, Mr.
System of the City of Detroit v. Crane, No. 13-cv-00945-VC (N.D. Cal.) ($5.1 million securities                        Schwartz served as lead counsel in several cases that set important precedents regarding
class action settlement); Rubenstein v. Oilsands Quest Inc., No. 11-1288 (S.D.N.Y.)                                    mortgage-backed securities. He argued the first cases to find that securitization
(securities settlement of $10.235 million); Boilermakers National Annuity Trust Fund v.                                trustees must seek to have defective mortgages repurchased from MBS trusts. These
WaMu Mortgage Pass-Through Certificates, No. 09-cv-00037 (W.D. Wash.) ($26 million                                     efforts recently led to the recovery of $69 million for investors in Washington Mutual
securities class action settlement); and In re TETRA Technologies, Inc. Securities Litig.,                             MBS and $6 million for investors in Bear Stearns MBS. Policemen’s Annuity and Benefit
No. 4: 07-cv-00965 (S.D. Tex.) ($8.25 million securities class action settlement).                                     Fund of the City of Chicago v. Bank of America, NA, 1:12-cv-2865 (S.D.N.Y.); Oklahoma
In addition to antitrust and securities matters, Ms. Lawrence has also worked on consumer                              Police Pension and Retirement System v. U.S. Bank National Association, 1:11-cv-8066
cases that have resulted in significant settlements for the affected classes. For example,                             (S.D.N.Y.) and In re SanDisk LLC Sec. Litigation, No. 15-cv-01455 (N.D. Cal.): a securities
Ms. Lawrence helped achieve a settlement in the The United States v. The City of New                                   fraud class action alleging that defendants intentionally inflated the price of the Company’s
York, No. 07-CV-2067 (E.D.N.Y.) that awarded back pay and lost fringe benefits to a class                              stock by making false and misleading statements and concealing information relating to
                                                                       Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 28 of 34




SanDisk’s business, operations, and prospects ($50 million settlement).                                                Prior to joining Scott+Scott, Mr. McGahan spent four years in the London office of Freshfields

Currently, Mr. Schwartz represents investment firms pursuing claims against MBS servicers.                             Bruckhaus Deringer LLP. During this time, he acted in many of the leading English competition

He also represents plaintiffs in a securities action against Nicholas Schorsch and RCS Capital                         damages cases, including National Grid Electricity Transmission Plc v. ABB Ltd. He also

Corp., among others. Weston v. RCS Capital Corp., 1:14-cv-10136 (S.D.N.Y.).                                            acted for numerous clients in competition law investigations, both internal investigations
                                                                                                                       and those brought by the Competition and Markets Authority, the European Commission,
Mr. Schwartz has substantial experience in competition and antitrust matters as well. He
                                                                                                                       and other regulators.
was part of the team that secured a $590 million settlement stemming from allegations
that several of the largest leveraged buyouts were subject to collusion. Dahl v. Bain Capital                          Mr. McGahan co-authored with Belinda Hollway, David Howe and Devina Shah, Cartel

Partners, LLC, 1:07-cv-12388 (D. Mass.). In addition, Mr. Schwartz has advised clients                                 Damages Settlements and the Damages Directive: The End of the Road for Contribution

in antitrust matters ranging from pharmaceuticals to precious metals and has advised                                   Claims, Global Competition Review (2017), Volume 10. He also co-authored with David

companies seeking merger review before a number of regulatory agencies.                                                Howe and Cian Mansfield, Intel on Jurisdiction: An Intelligent Approach to Treating
                                                                                                                       Anticompetitive Conduct across Global Supply Chains, Global Competition Review
Super Lawyers named Mr. Schwartz a Rising Star and the Legal Aid Society also recognized
                                                                                                                       (2018), Volume 1. When not at work, Mr. McGahan enjoys cycling, hiking, and skiing with
him with a Pro Bono Service Award for work before the New York Court of Appeals.
                                                                                                                       his two children.

PATRICK MCGAHAN
                                                                                                                       LAUREN MCCABE
PRACTICE EMPHASIS
                                                                                                                       PRACTICE EMPHASIS
Mr. McGahan specializes in antitrust and commodities litigation before U.S. and English courts.
                                                                                                                       Lauren McCabe’s practice focuses on securities class actions.
EDUCATION
                                                                                                                       EDUCATION
King’s College London (Postgraduate Diploma in Competition Law, 2015); University of
                                                                                                                       New York University Law School (J.D., 2008),
Queensland (Bachelor of Laws, First Class Honours, and Bachelor of Arts, 2010)
                                                                                                                       Pepperdine University (B.A., summa cum laude, 2005)
HIGHLIGHTS
                                                                                                                       HIGHLIGHTS
Mr. McGahan is a partner in Scott+Scott’s Connecticut and London offices and works
                                                                                                                       Ms. McCabe is a senior associate in Scott+Scott’s New York office. Prior to joining Scott+Scott,
closely with other members of the firm’s Antitrust and Competition Practice in counseling
                                                                                                                       she was a litigation associate at a major international law firm where she represented clients
corporate and institutional clients, evaluating potential claims, and developing strategies to
                                                                                                                       in high stakes trials, securities class actions, breach of fiduciary duty cases, antitrust matters,
recover losses caused by anticompetitive conduct. He has also acted for clients in a variety
                                                                                                                       and employment matters.
of securities litigation, arbitrations (both investment treaty and commercial), and pieces of
general commercial litigation.                                                                                         Ms. McCabe is the primary associate on the teams prosecuting the securities class actions
                                                                                                                       In re GreenSky Securities Litigation, No. 18 Civ. 11071 (AKH) (S.D.N.Y.), In re Weight
In the U.S., Mr. McGahan is a member on the Scott+Scott teams prosecuting In re Cattle
                                                                                                                       Watchers Int’l, Inc. Securities Litigation, Master File No. 1:10-cv-02005 (S.D.N.Y.),
Antitrust Litigation, No. 19-cv-1222 (D. Minn.) (alleging conspiracy amongst nation’s
                                                                                                                       Silverberg v. DryShips Inc., No. 2:17-cv-4547-SJF-ARL (E.D.N.Y.), Castronovo v.
meatpackers to suppress fed cattle prices), Two Roads Shared Trust v. John Does, No.
                                                                                                                       Dentsply Sirona Inc., Index No. 155393/2018 (Sup. Ct. N.Y.), Kirkland v. WideOpen-
20-cv-00831 (N.D. Ill.) (alleging manipulative trading of SPX Options in breach of the
                                                                                                                       West, Inc., Index No. 653248/2018 (Sup. Ct. N.Y.), In re Lyft, Inc., Securities Litigation,
Commodities Exchange Act), and Robinson v. Diana Containerships, No. 17-cv-6160
                                                                                                                       Lead Case No. CGC-19-575293 (San Fran. Sup. Ct.), and In re: SmileDirectClub, Inc.
(E.D.N.Y) (alleging conspiracy between funder and various Greek shipping companies),
                                                                                                                       Securities Litigation, Lead Case No. 19-1169-IV (Davidson Cty. Chancery Ct. Tenn.).
among other matters. In England, Mr. McGahan is presently representing numerous clients
                                                                                                                       Ms. McCabe drafts key pleadings and manages discovery in all her matters. She also
who have European claims arising from the manipulation of the foreign exchange market.
                                                                       Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 29 of 34




successfully argued to defeat defendants’ motion to stay in the Dentsply Sirona action.                                where he represented clients in securities cases, bankruptcy proceedings, and antitrust

Ms. McCabe’s publications include: Justice Holland’s Lasting Imprint on Corporate Law,                                 matters, and advised clients on employment matters.

Delaware Business Court Insider (March 14, 2017).
                                                                                                                       RANDY MOONAN
Outside of work Ms. McCabe’s hobbies include paddle boarding, volleyball, cooking,                                     PRACTICE EMPHASIS
travel, and spending time with her husband, Tyson, and son, Kellen, and her family in                                  Mr. Moonan’s practice focuses on securities class actions.
Texas, where she was raised.
                                                                                                                       ADMISSIONS

JOSEPH A. PETTIGREW                                                                                                    State of New York; United States District Courts: Southern and Eastern Districts of New York;

PRACTICE EMPHASIS                                                                                                      Fourth Circuit Court of Appeals.

Joseph A. Pettigrew’s practice areas include securities, antitrust, shareholder derivative                             EDUCATION
litigation, and other complex litigation.                                                                              Cornell Law School (J.D., 2013); University at Albany (B.A., History and Political Science,

EDUCATION                                                                                                              magna cum laude, Phi Beta Kappa, 2010)

University of San Diego School of Law (J.D., 2004);                                                                    HIGHLIGHTS
Carleton College (B.A., Art History, cum laude, 1998)                                                                  Mr. Moonan is an associate in Scott+Scott’s New York office. Prior to joining Scott+Scott,

HIGHLIGHTS                                                                                                             Mr. Moonan was a litigation associate at Simpson Thacher & Bartlett LLP, representing

Mr. Pettigrew is an attorney who works across multiple S+S offices. His work includes the                              major financial institutions in civil and regulatory matters involving securities, antitrust,

following cases: Dahl v. Bain Capital Partners, LLC, No. 07-cv-12388 (D. Mass.); In re                                 corporate governance, and insurance law issues. During law school, Mr. Moonan served

Tile Shop Holdings, Inc. Stockholder Deriv. Litigation, C.A. No. 10884-VCG (Del. Ch.);                                 as a Managing Editor of the Cornell Journal of Law and Public Policy as well as a clinical

and In re Robinhood Financial Svs. Litigation, No. 20-cv-1026 (N.D. Cal.).                                             extern at the United States Attorney’s Office, Northern District of New York

Mr. Pettigrew has served on the board and as a legal counsel to several nonprofit                                      REPRESENTATIVE CASES

arts organizations.                                                                                                    Lead Associate, In re Evoqua Water Technologies Corp., No. 1:18-cv-10320-AJN (S.D.N.Y.;
                                                                                                                       Lead Associate, St. Lucie County Fire District Firefighters’ Pension Trust v. Southwestern
JEFF JACOBSON                                                                                                          Energy Company, No. 2016-70651 (Harris Cnty. Tex.); Associate, In re PPDAI Group
PRACTICE EMPHASIS                                                                                                      Securities Litigation, Index No. 654482/2018 (Sup. Ct., N.Y. Cnty.)
Jeffrey P. Jacobson is a litigation associate specializing in securities litigation in both
federal and state court. Currently, he is one of the attorneys in the firm representing                                MICHAEL SRODOSKI
pension funds and individuals in their civil suits prosecuting publicly traded companies                               Mr. Srodoski is an associate in the firm’s Connecticut office and prosecutes complex con-

for securities fraud and malfeasance.                                                                                  sumer class actions with a focus on antitrust and unfair competition violations.

EDUCATION                                                                                                              EDUCATION

George Washington University Law School (J.D., High Honors, Order of the Coif, 2017)                                   University of Minnesota Law School (J.D., cum laude, 2016);

The George Washington University (B.A., Journalism & Political Science, summa cum                                      University at Albany (B.A., Economics, 2001)

laude, Distinguished Scholar, 2013)                                                                                    CLERKSHIPS

HIGHLIGHTS                                                                                                             Clerk for Hon. Carol A. Hooten, Minnesota Court of Appeals, 2016-2017

Jeff is an associate in our New York office where he focuses on federal securities litigation                          Extern for Hon. Diana E. Murphy, United States Court of Appeals for the Eighth Circuit, 2015

Prior to joining Scott+Scott, Jeff was a litigation associate at a major international law firm
                                                                          Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 30 of 34




REPRESENTATIVE CASES                                                                                                      Ms. Swartz also spent more than four years as an associate at Sullivan & Cromwell LLP in
In re Cattle Antitrust Litigation, No. 0:19-cv-01222 (D. Minn.) (co-lead counsel); Two                                    New York, representing major financial institutions in civil and regulatory matters involving
Roads Shared Trust v. John Does, No. 1:20-cv-0831 (N.D. Ill.) In re: ICE LIBOR Antitrust                                  securities, antitrust, corporate governance, and employment law issues.
Litigation, No. 1:19-cv-00439 (S.D.N.Y.) In re Equifax, Inc., Customer Data Security                                      Ms. Swartz clerked for the Honorable Joan M. Azrack in the Eastern District of New York.
Breach Litigation, No. 1:17-md-2800 (N.D. Ga.) (member of the Plaintiffs’ Coordination
and Discovery Committee); In re Broiler Chicken Antitrust Litigation, No. 1:16-cv-08637                                   ZACHARY M. VAUGHAN
(N.D. Ill.) (member of Plaintiffs’ Discovery Committee).                                                                  PRACTICE EMPHASIS

PUBLICATIONS                                                                                                              Zachary M. Vaughan practices complex securities litigation at the firm, where he consults

Mr. Srodoski, Steering for More Trouble? Could the Ruling in United States v. American                                    with institutional clients on corporate fraud in the securities markets as well as corporate

Express Co. Lead to Further Antitrust Enforcement Actions Against American Express                                        governance issues.

in Europe? 25 MINN. J. INT’L L. 1 (Winter 2016).                                                                          EDUCATION

In his free time, Michael enjoys hand tool woodworking, reading to his son, and traveling                                 Georgetown University Law Center (J.D, cum laude, 2011);

(especially to Citizens Bank Park to watch the Philadelphia Phillies play).                                               Dartmouth College (A.B., Music, 2005)

                                                                                                                          HIGHLIGHTS
RHIANA SWARTZ                                                                                                             Law Clerk to Hon. Colleen McMahon, U.S. District Court for the Southern District of New
PRACTICE EMPHASIS                                                                                                         York; Law Clerk to Hon. D. Michael Fisher, U.S. Court of Appeals for the Third Circuit;
Rhiana Swartz’s practice primarily focuses on case development including identifying,                                     Spent four years as a litigation associate at Patterson Belknap Webb & Tyler LLP, where
investigating and initiating complex federal and state securities class actions on behalf                                 his commercial-litigation experience included representing plaintiffs in cases involving
of institutional and individual investors. She also litigates these matters, with a focus on                              mortgage-backed securities.
leadership issues. Ms. Swartz is also involved in shareholder derivative actions and other
                                                                                                                          Mr. Vaughan has been recognized as a Rising Star in the 2017-21 editions of Super Lawyers
complex commercial matters.
                                                                                                                          and served on the editorial board of The Georgetown Law Journal
EDUCATION
Brooklyn Law School (J.D., magna cum laude); Swarthmore College (B.A.)                                                    HEATHER H. VOLIK
REPRESENTATIVE CASES                                                                                                      PRACTICE EMPHASIS

Ms. Swartz has helped secure Scott+Scott’s leadership in many federal and state class                                     Heather Volik is an associate attorney in the Firm’s New York office. Her practice focuses on

actions, including: Corwin v. ViewRay, Inc., No. 1:19-cv-02115 (N.D. Ohio); In re Weight                                  securities litigation.

Watchers Int’l, Inc. Sec. Litigation, No. 1:19-cv-02005 (S.D.N.Y.); Mustafin v. GreenSky,                                 EDUCATION
Inc., No. 1:18-cv-11071 (S.D.N.Y.); In re Evoqua Water Techs. Corp. Sec. Litigation, No.                                  New York Law Law School (J.D., magna cum laude, 2006); University of Pittsburgh (B.A.
1:18-cv-10320 (S.D.N.Y.); Kanugonda v. Funko, Inc., No. 2:18-cv-00812 (W.D. Wash.);                                       English major, African and Russian studies minors)
Silverberg v. DryShips Inc., No. 2:17-cv-04547 (E.D.N.Y.); Robinson v. Diana Containerships
                                                                                                                          HIGHLIGHTS
Inc., No. 2:17-cv-06160 (E.D.N.Y.); and In re Altice USA, Inc. Sec. Litigation, Index No.
                                                                                                                          Recipient of the 2006 Professor Lung-Chu Chen Award for Excellence in the Field of Human
711788/2018 (NY Sup. Ct. Queens Cty.).
                                                                                                                          Rights; Law Clerk for the Honorable Charles Chambers, United States District Court Judge
Prior to joining Scott+Scott, Ms. Swartz was Senior Counsel in the Special Federal Litigation                             for the Southern District of West Virginia; Elected member of the Kings County Democratic
Division of the New York City Law Department, Office of the Corporation Counsel, where she
defended federal civil rights cases from initial receipt of complaint through trial verdict.
                                                                        Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 31 of 34




Committee, 2016-2020; Recipient of the 2010 and 2011 Legal Aid Society’s Pro Bono Pu-
blico Awards; Recipient of the Safe Passage Attorney of the Week, April 2014; and has au-
thored Driving Down the Wrong Road: The Fifth Circuit’s Definition of Unauthorized Use
of A Motor Vehicle as a Crime of Violence in the Immigration Context, 39 St. Mary’s L. J.
149 (2007)


JONATHAN ZIMMERMAN
PRACTICE EMPHASIS
Jonathan Zimmerman is an associate in the Firm’s New York office where he focuses on federal
securities and shareholder derivative litigation. His practice primarily focuses on identifying,
investigating and initiating complex federal securities class actions on behalf of individual
and institutional shareholders. He is also involved in multiple shareholder derivative actions
and other complex commercial matters.

EDUCATION
Temple University, Beasley School of Law (J.D., 2016); McGill University, Desautels School of
Management (Bachelor of Commerce, 2009)

REPRESENTATIVE CASES
In re SanDisk LLC Securities Litigation, No. 3:15-CV-01455-VC (N.D. Cal.) (part of the
team that recovered $50 million in class action alleging violations of the Securities
Exchange Act of 1934); City of Birmingham Relief and Retirement System v. Hastings,
No. 5:18-cv-02107-BL (N.D. Cal.)

HIGHLIGHTS
• Former Staff Editor of Temple’s International and Comparative Law Journal and Recipient
 of Best Paper Award in Advanced Financial Regulations for his work entitled Corporate
 Diversions: Short-Term Tax Savings at the Expense of Shareholder Rights (Spring 2015).

•
 Former two-time All-Canadian collegiate lacrosse player and co-captain of McGill
 University’s men’s varsity team
                                        Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 32 of 34




     ATTORNEY COURT ADMISSIONS

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         International Admissions: The Netherlands; England and Wales (including Higher Rights of Audience);

         Republic of Ireland; Scotland; New South Wales, Australia; Queensland, Australia; and Germany; U.S. Admissions:

         United States Supreme Court; United States Courts of Appeal for the First, Second, Third, Fifth, Sixth,




     +                                                                                                                     +
         Seventh, Eighth, Ninth, Tenth, and Eleventh Circuits; United States District Courts for the Districts of

         California (Northern, Southern, Eastern, and Central), Colorado, Connecticut, Florida (Northern), Illinois

         (Northern), Massachusetts, Michigan (Eastern), Missouri (Eastern), New Jersey, New York (Southern, Eastern,

         and Western), Ohio (Northern and Southern), Pennsylvania (Eastern and Western), Texas (Northern, Western,

         and Southern), Wisconsin (Eastern and Western), and the District of Columbia; and the courts of the

         States of Arizona, California, Connecticut, Delaware, Florida, Maryland, Pennsylvania, Massachusetts,




                                                                 +
         Nebraska, New Jersey, New York, Ohio, West Virginia, Wisconsin, Texas, and the District of Columbia.




70                                                                                                                             71
                                                                                         Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 33 of 34




     ACCOLADES
     U.S. News & World Report “Best Law Firms”
     The Firm is currently ranked by U.S. News & World Report as a “Best Law Firm”
     in commercial litigation in the New York region.

     American Antitrust Institute
     The 2018 Antitrust Annual Report recognized In re Foreign Currency Benchmark
     Rates Antitrust Litigation as the #1 settlement of 2018, as well as ranking the
     FIrm #1 nationally for aggregate settlements: 2013-2018.

     Global Competition Review
     At the 6th Annual Global Competition Review (“GCR”) Awards, Scott+Scott won
     for Litigation of the Year – Cartel Prosecution, which recognized the Firm’s efforts
     in the foreign exchange settlements in the United States, a landmark case in
     which major banks conspired to manipulate prices paid in the $5.3 trillion-per-
     day foreign exchange market and have thus far settled for more than $2 billion.

     Law 360 Glass Ceiling Report
     Scott+Scott is recognized as one of the top law firms in the nation for female
     attorneys by the legal publication Law360. The Glass Ceiling Report honors firms
     that “are demonstrating that the industry’s gender diversity goals can turn into a
     measurable result, and boost the number of women at all levels of a law firm. 1,
     2
         ” This selection highlights the importance Scott+Scott places on diversity and
     inclusion within the Firm.

     Center for Constitutional RIghts
     Scott+Scott was the recipient of the 2010 Center for Constitutional Rights’ Pro Bono
     Social Change Award for its representation of the Vulcan Society, an association of
     African-American firefighters, in challenging the racially discriminatory hiring practices
     of the New York City Fire Department.
      https://www.law360.com/articles/1310926
     1

      https://www.law360.com/articles/1162859/the-best-law-firms-for-female-attorneys.
      




84
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           Case 3:21-cv-09767-EMC Document 45-6 Filed 02/15/22 Page 34 of 34




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